                              Case 4:19-cr-00562-JM Document 73 Filed 12/08/22 Page 1 of 7
                                                                                                                                                   "...
  AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                          Sheet l



                                            UNITED STATES DISTRICT COURT                                                c:~ Oil l02t
                                                             Eastern District of Arkansas                       TAM!\!V l-1. = R K
                UNITED STATES OF AMERICA                                    ~         JUDGMENT INllf~tm.Hf~                                      atiRK
                                     v.                                     )
                         LEKIESHA CUMMINGS                                  )
                                                                                      Case Number: 4:19-cr-00562-JM-1
                                                                            )
.t~    '~                                                                   )         USM Number: 25722-009
                                                                            )
                                                                            )          Ronald L. Davis Jr.
                                                                            )         Defendant's Attorney
  THE DEFENDANT:
  ~ pleaded guilty to count(s)            1 of Indictment
  D pleaded nolo contendere to count(s)
    which was accepted by the court.
  D was found guilty on count(s)
    after a plea of not guilty.

  The defendant is adjudicated guilty of these offenses:

  Title & Section                    Nature of Offense                                                        Offense End_gd              Count
  21 U.S.C. § 841(a)(1)               Possession with intent to distribute methamphetamine,                   9/9/2018                       1
      and {b)(1)(B)                      a Class B felony



          ~e defendant is sentenced as provided in pages 2 through                7          of this judgment. The sentence is imposed pursuant to
 ~     S!i .cing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)

  D Count(s)                       N/A                      D is     Dare dismissed on the motion of the United States.

           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
  the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            12/8/2022



                                                                                                       ,,,.




                                                                            JAMES M. MOODY JR., U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge




                                                                           Date
                                                                                  \t..w       '"2.'2-

       ~
                               Case 4:19-cr-00562-JM Document 73 Filed 12/08/22 Page 2 of 7

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        It -
                   09/19) Judgment in Cri~inal Case
                          Sheet 2 - lmpnsonment

                                                                                                     Judgment -   Page    2   of   7
    DEi-- ENDANT: LEKIESHA CUMMINGS
    CASE NUMBER: 4:19-cr-00562-JM-1

                                                                IMPRISONMENT
              The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
    total term of:

     150 MONTHS




        ~ The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends the defendant participate in residential substance abuse treatment, mental health counseling,
          and educational and vocational programs during incarceration. The Court recommends designation to FMC Carswell
          to allow the defendant to participate in mental health treatment programs at that facility.



        !ill   The defendant is remanded to the custody of the United States Marshal.
-w    tNfiAl
        D The defendant shall surrender to the United States Marshal for this district:
               D at      _ _ _ _ _ _ _ _ _ D a.m.                  D p.m.        on

               D as notified by the United States Marshal.

        D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               D    before 2 p.m. on

               D as notified by the United States Marshal.
               D    as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
    I have executed this judgment as follows:




      ~
               Defendant delivered on                                                     to

    at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                                By
                                                                                               DEPUTY UNITED STATES MARSHAL
                                     Case 4:19-cr-00562-JM Document 73 Filed 12/08/22 Page 3 of 7
          AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                                 Sheet 3 - Supervised Release
                                                                                                                                  3-
                                                                                                                  Judgment-Page - - · of           7
          DEFENDANT: LEKIESHA CUMMINGS
          CASE NUMBER: 4:19-cr-00562-JM-1
                                                                 SUPERVISED RELEASE
          Upon release from imprisonment, you will be on supervised release for a term of:
            FIVE (5) YEARS

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                                                                MANDATORY CONDITIONS
          1.     You must not commit another federal, state or local crime.
          2.     You must not unlawfully possess a controlled substance.
          3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
                 imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                         D The above drug testing condition is suspended, based on the court's determination that you
                            pose a low risk of future substance abuse. (check if applicable)
          4.      D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                     restitution. (check if applicable)
          5.      ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
          6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
                     directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
                     reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
           7.     D You must participate in an approved program for domestic violence. (check if applicable)
          You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
          oaee.
        ·• rite,~
       ·~
                               Case 4:19-cr-00562-JM Document 73 Filed 12/08/22 Page 4 of 7
     AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                            Sheet 3A - Supervised Release
                                                                                                   Judgment-Page        4        of         7
     DEFENDANT: LEKIESHA CUMMINGS
     CASE NUMBER: 4:19-cr-00562-JM-1

                                            STANDARD CONDITIONS OF SUPERVISION
     As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
     because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
     officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

     1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
         frame.
    2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
         when you must report to the probation officer, and you must report to the probation officer as instructed.
    3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
         court or the probation officer.
    4. You must answer truthfully the questions asked by your probation officer.
    5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
         the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
~      .~~~rs of becoming aware ofa change or expected change.
  •&g_.: must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
         take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
         doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
         you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
         responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
         days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
         becoming aware of a change or expected change.
    8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
         probation officer.
    9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
    10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
         designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
    11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
         first getting the permission of the court.
    12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
         require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
         person and confirm that you have notified the person about the risk.
    13. You must follow the instructions of the probation officer related to the conditions of supervision.



     U.S. Probation Office Use Only
;;:-· • A. . .robation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
     judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
     Release Conditions, available at: www.uscourts.gov.


     Defendant's Signature                                                                                   Date
                                                                                                                    ------------
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         AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                                Sheet 3B - Supervised Release
                                                                                                       Judgment-Page ___L__ of            7
         DEFENDANT: LEKIESHA CUMMINGS
         CASE NUMBER: 4:19-cr-00562-JM-1

                                               ADDITIONAL SUPERVISED RELEASE TERMS
          14) The defendant must participate in a mental health treatment program under the guidance and supervision of the
          probation office. The defendant will pay for the cost of treatment at the rate of $10 per session, with the total cost not to
      .::,... lbr«$40 per month, based on ability to pay as determined by the probation office. In the event the defendant is
  ·       fma ally unable to pay for the cost of treatment, the co-pay requirement will be waived.
          15 J The defendant must participate under the guidance and supervision of the probation office in a substance abuse
          treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. The
          defendant must abstain from the use of alcohol during treatment. The defendant will pay for the cost of treatment at the
          rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
          probation office. In the event the defendant is financially unable to pay for the cost of treatment, the co-pay requirement
          will be waived .




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                                   Case 4:19-cr-00562-JM Document 73 Filed 12/08/22 Page 6 of 7
'.I-"   •· A~4dev. 09/19)      Judgment in a Criminal Case
                               Sheet 5 - Criminal Monetary Penalties
                                                                                                                  Judgment - Page       6      of      7
          DEFENDANT: LEKIESHA CUMMINGS
          CASE NUMBER: 4:19-cr-00562-JM-1
                                                         CRIMINAL MONETARY PENALTIES
              The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                               Assessment               Restitution                 Fine                   AV AA Assessment*            JVTA Assessment**
          TOTALS           $   100.00               $   0.00                $       0.00               $   0.00                     $   0.00


          D   The determination of restitution is deferred until _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
              entered after such determination.

          D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

              If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
              the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
              before the United States is paid.

        '"1'!*'~
        -  il.llle~- Pam                                                Total Loss***                  Restitution Ordered          Priority or Percenta2e




          TOTALS                              $ _ _ _ _ _ 0.00
                                                          __                               $                      0.00
                                                                                               -------


;-: • IM'     i""' :tution amount ordered pursuant to plea agreement            $

          D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
               fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
               to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

               D the interest requirement is waived for the             D fine        D restitution.
               D the interest requirement for the           D    fine    D restitution is modified as follows:

          * Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
          ** Justice for ictims of Trafficking Act of 2015, Pub. L. No. 114-22.
          *** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
          or after September 13, 1994, but before April 23, 1996.
            AO 245B (Rev. 09/19)
                                             Case 4:19-cr-00562-JM Document 73 Filed 12/08/22 Page 7 of 7
                                          Judgment in a Criminal Case
                                          Sheet 6- Schedule of Payments
                                                                                                                          Judgment- Page     7     of          I
             DEFENDANT: LEKIESHA CUMMINGS
             CASE NUMBER: 4:19-cr-00562-JM-1

                                                                          SCHEDULE OF PAYMENTS

     -~-•. Havin2, assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
.,'' AA?             tit.,.
              A        liZ'.'l   Lump sum payment of$        100.00                due immediately, balance due

                                 □    not later than                                   , or
                                 □    in accordance with D C,             □   D,   D    E,or    D Fbelow; or

              B        D         Payment to begin immediately (may be combined with            DC,      D D, or     D F below); or

              C        D         Payment in equal     _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                                              (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

              D        D         Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                                               (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
                                 term of supervision; or

              E        D         Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
                                 imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

              F        D         Special instructions regarding the payment of criminal monetary penalties:




                ~
'~           -.J..;'
           -➔-



              Unl~ss the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone~ penalties is due during
              the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
              Financial Responsibility Program, are made to the clerk of the court.

              The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




              D        Joint and Several

                       Case Number
                       Defendant and Co-Defendant Names                                                   Joint and Several           Corresponding Payee,
                       (including defendant number)                            Total Amount                    Amount                     if appropriate




              D        The defendant shall pay the cost of prosecution.

              D        The defendant shall pay the following court cost(s):

              D        The defendant shall forfeit the defendant's interest in the following property to the United States:
 ·,;·
      .•         .
           .. :Orl "Et
                         ~




              Payments shall be aJ?plied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
              (5) fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment, (9) penalties, and (10) costs, mcluding cost of
              prosecution and court costs.
